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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND


CITY OF WARREN POLICE AND FIRE
RETIREMENT SYSTEM, Individually and on
Behalf of All Others Similarly Situated,
       Plaintiff,
                                                       C.A. No. 1:18-cv-00543-WES-LDA
                       v.

HASBRO, INC., BRIAN D. GOLDNER and
DEBORAH M. THOMAS
     Defendant.



                      DEFENDANT’S CORPORATE DISCLOSURE

       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Defendant, Hasbro, Inc.,

hereby states that no parent corporation or publicly held corporation owns Ten Percent (10%) or

more of its stock.




Dated: November 19, 2018                         /s/ Patricia K. Rocha
                                                 PATRICIA K. ROCHA (#2793)
                                                 JOHN A. TARANTINO (#2586)
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                                                 Attorneys for Defendant Hasbro, Inc.
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                               CERTIFICATE OF SERVICE

        I hereby certify that on November 19, 2018, I served via the Electronic Court Filing
System (ECF) a true copy of the within pleading on counsel of record. The document has been
filed electronically and it is available for viewing and downloading from the ECF system.

                                           /s/ Patricia K. Rocha




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